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               This form is approved by the linois Supreme Court and ls requlred to be accepted in all llinols courts.
        STATE OF ILLINOIS,                                                                        For Court Use Only
           CIRCUIT COURT
                                                 ORDER FOR NAME CHANGE
  Cook                     COUNTY                             (ADULT)
  Instructions ¼
Directly above, enter       Request of:
the county name
where the case wAS
fled,
Enter your curent
name.                      Bailey Nell Pfeifer
Enter the case number       Your current name (First, middie, last name)                      2021CONCO01513
given to you by the         EMAIL:alexis@tilp.org                                                 Case Number
Circuit Clerk.

 DONOT check any
boxes on this fom.           The Court reviewed your Request for Name Change and finds:
The judge will check
the correct boxes at             The Court has jurisdiction.
the hearing.                     Correct Notice was done by néwspaper publication.
                                 In this Newspaper:
                                 On these Dates:
                                 Notice requirement was waived.
                                 Notice not required. Petitioner has received a Judgment for Dissolution of Mariage or
                                 Declaration of Invalidity of Marriage and is resuming use of their former or maiden name.
                                 The statements made in the Request for Name Change meet the statutory requirements.
                                 The statements made in the Request for Name Change do not meet the statutory
                                  requirements.
                             IT IS ORDERED:

                                  The Request for Name Change is GRANTED.
                                  The name of.
 Enter your current full        Bailey                       Nell                          Pfeifer
  name.                           First                      Middle                        Last
                                  is changed to:
 Enter the new ful1             Ezra                           Nell                        Pfeifer
 name you would like.             First                      Middle                        Last

                                  The Request for Name Change is DENIED,
                                  The Request is denied for the following reasons:

  DONOT enter the            ENTERED:                                                                   ENT ERED
 Judge arnd.Date. The                                                                                  Judge Nichole C. Patcn-2211
 judge will sign here.
                                          Nichole C Patto 2217                                                NOV 05 2021
                             Judge                                                         Date                       ARTINEZ
                                                                                                        CLER OF THE CIRGUIT CöURT
                                                                                                            OF COOK COUNTY, IL

                                   4801- Case was heard via Remote Hearing


 NC-O 305.5                                                     Page 1 of 1                                                      (03/20)
